Case 1:05-cv-01067-.]DT-STA Document 34 Filed 05/06/05 Page 1 of 3 Page|D 32

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IN THE UNITED sTATEs msTRlCT COURT "`-~ DC_
FoR THE WESTERN DISTRICT oF TENNESSEE 05 HAY ..5
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v CLEI;§-.';_' ;~,.~’ j f jj /ROUO
PAULINE THARPE, by next mena and W.D_ r;-;»' -

  

attorney in fact, MARSHALL THARPE

Plaintiff,
vs.

MERCK & CO., INC.; RONNIE L. Case No.: 1-05-1067 T/An
BATCHELOR, DPH; TAMMY RENE N.
PRATHER, DPH; BECKY CAPPS
TEAL, DPH; EXPRESS SCRIP'I`S, INC.;
STEPHANIE B. (BUCK) ISON;
COURTNEY SI'_IAY (INGRAM)
McMAKIN; VINAY KRISHAN SOOD;
MELISSA CAROL (McALLIS'I`ER)
BARNES; MICHAEL RICHARDS;
PATRICIA BLASINGAME and SCOTT
EVANS,

Defendants

 

ORDER GRANTING SECOND CONSENT MOTION FOR EXTENSION OF TIME TO
RESPOND TO DEFENDANT EXPRESS SCRIPTS, INC.’S MOTION TO DISMISS

This matter came on to be heard upon the Consent Motion of Plaintiffs requesting an
additional one (l) week to respond to Defendant Express Scripts, Inc.’s Motion to Dismiss. For
the reasons set forth in the Motion, the Court finds the motion is well taken and should be
granted

IT IS THEREFORE ORDERED that the consent motion of Plaintiffs, for an extension of
time is hereby GRANTED and that Plaintiffs shall have until Wednesday, May 11 to respond to

Defendant Express Scripts, lnc.’s Motion to Dismiss.

*,“/
signedthisthe 5 dayofML 2005.

UNIT STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet in complian<~

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:05-CV-01067 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

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Honorable J ames Todd
US DISTRICT COURT

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